            Case: 3:16-cv-00747-jdp Document #: 9 Filed: 02/02/18 Page 1 of 3




                                       STEVEN BUTZLAFF
          DEFENDANT’S
            EXHIBITS                            Plaintiff,

                                       V.                    Case No.   16-CV-747-jdp


                                       STATE OF WISCONSIN DEPARTMENT OF
                                       CORRECTIONS,

                                                Defendant.

 Date           Identification                  Description              Offers, Objections,
          No.         Witness                                            Rulings, Exceptions
                                       Steven Butzlaff’s position
          501   Butzlaff
                                       description as Officer 1

                                       Steven Butzlaff’s position
          502   Butzlaff
                                       description as Officer 2

          503   Nelson                 Executive Directive #2

                                       Steven Butzlaff’s Payroll Pay
 2010     504   Butzlaff/Dunwald
                                       Stubs from 2010

                                       Steven Butzlaff’s Payroll Pay
 2011     505   Butzlaff/Dunwald
                                       Stubs from 2011

                                       Steven Butzlaff’s Payroll Pay
 2012     506   Butzlaff/Dunwald
                                       Stubs from 2012

                                       June 28, 2012 Nelson email to
                                       Hesselberg, following up RE:
6-28-12   507   Nelson/Hesselberg
                                       Parking Passes/Supervisor’s
                                       Office

                                       Incident Reports by Nelson
7-24-12   508   Nelson/Strampe
                                       RE: July 24, 2012 Incident

                                       Investigative Interview of
7-24-12   509   Butzlaff/Hesselberg    Steven Butzlaff RE: July 24,
                                       2012

                Butzlaff/Hesselberg/   July 24, 2012 Mark Nelson
7-24-12   510
                Nelson                 Complaint
              Case: 3:16-cv-00747-jdp Document #: 9 Filed: 02/02/18 Page 2 of 3
  Date              Identification                 Description             Offers, Objections,
            No.            Witness                                         Rulings, Exceptions

                                        October 2012 Emails between
                                        Hesselberg and Butzlaff RE:
10-2012     511   Hesselberg/Butzlaff
                                        Complaints Regarding Mark
                                        Nelson

                                        November 2, 2012 Temporary
11-2-12     512   Butzlaff/Nelson       Reassignment Letter to
                                        Butzlaff

                                        November 2012 Emails
11-9-12     513   Butzlaff              between DiBenedetto and
                                        Butzlaff

                                        November 14, 2012 Email from
                                        Nelson to Cole regarding
11-14-12    514   Nelson
                                        Butzlaff allegations, including
                                        attachments

                  Butzlaff/Logan/
7-24-12 –         Strampe/Clemons/     DAI Investigation RE: July 24,
            515
12-13-12          Brennan/Wigglesworth 2012 Incident
                  /Winchell

                                        Butzlaff employment
12-13-12    516   Butzlaff
                                        application for MMHI

                                        January 3, 2013 Permissive
 1-3-13     517   Butzlaff
                                        Transfer Letter

                                        January 10, 2013 Email from
1-10-13     518   Paquin                Cole to Paquin RE: Meeting –
                                        Officer Butzlaff

                                        January 2013 Performance
1-10-13     519   Butzlaff/Nelson       Planning and Development
                                        Report for Steven Butzlaff

                                        January 10, 2013
1-10-13     520   Butzlaff              Memorandum from Cole to
                                        Butzlaff RE: Job Instruction

                                        January 10, 2013
1-10-13     521   Butzlaff
                                        Reassignment Letter



                                                                                       Page 2 of 3
                  Case: 3:16-cv-00747-jdp Document #: 9 Filed: 02/02/18 Page 3 of 3
       Date             Identification                 Description             Offers, Objections,
                No.            Witness                                         Rulings, Exceptions

                                            January 10, 2013 Bostedt’s
      1-10-13   522   Butzlaff/Bostedt      Intake Interview with Steven
                                            Butzlaff

                                            Butzlaff January 12, 2013,
      1-14-13   523   Butzlaff/Paquin
                                            letter of resignation

                                            Steven Butzlaff’s Payroll Pay
       2013     524   Butzlaff/Dunwald
                                            Stubs from 2013

      1984-                                 Butzlaff State employment
                525   Butzlaff/Dunwald
      2013                                  history

                                            2014 Performance Planning &
      6-19-14   526   Nelson
                                            Development for Mark Nelson

                                            Butzlaff 1-26-15 retirement
      1-26-15   527   Butzlaff
                                            letter, last day 2-17-15

                                            Summary of Butzlaff payroll
                528   Dunwald               records (Exhibits 504-506, &
                                            524)




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